                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 The Estate of Usaamah Rahim,

                 Plaintiff,                         Civil Action No. 1:18-cv-11152-IT

 v.

 United States of America, et al.,

                 Defendants.


      THE UNITED STATES OF AMERICA’S MOTION FOR SUMMARY JUDGMENT

        This case concerns a shooting. On the morning of the shooting, Usaamah Rahim told his

nephew, David Wright, that he planned to go after “those boys in blue,” meaning law enforcement,

and that it might happen that day. Members of a Federal Bureau of Investigation Joint Terrorism

Task Force who had been investigating the ties both men had to the Islamic State of Iraq and

Levant heard that conversation. About two hours later, when law enforcement approached Mr.

Rahim to question him, Mr. Rahim brandished a knife and advanced towards them. He refused

several orders to drop his weapon, and as he moved towards the officers, he pointed the knife at

them and waived it in a circular motion. In the split second available to assess the threat posed by

Mr. Rahim, two officers fired a total of three shots. Mr. Rahim died that day.

        Plaintiff, the personal representative of the estate of Mr. Rahim, has alleged tort claims for

negligence, wrongful death, assault, and battery against the United States of America under the

Federal Tort Claims Act (the FTCA). Summary judgment should enter for the United States

because: 1) the Court lacks jurisdiction over the negligence claim under the FTCA’s discretionary

function exception; and 2) the underlying use of force was reasonable under state law.
       A memorandum of law and a Statement of Undisputed Material Facts, with exhibits,

accompany this motion.

                                                      Respectfully submitted,

                                                      The United States of America

                                                      By its attorney,

                                                      Andrew E. Lelling
                                                      United States Attorney

                                                      /s/ Annapurna Balakrishna
                                                      Annapurna Balakrishna, BBO # 655051
                                                      Assistant United States Attorney
                                                      United States Attorney’s Office
                                                      1 Courthouse Way, Suite 9200
                                                      Boston, MA 02210
                                                      Tel.: 617-748-3111
                                                      Email: annapurna.balakrishna@usdoj.gov


                              LOCAL RULE 7.1 CERTIFICATION

       I certify that I conferred with counsel for Plaintiff before filing this motion.

                                                      /s/ Annapurna Balakrishna
                                                      Annapurna Balakrishna
Dated: December 14, 2018                              Assistant U.S. Attorney




                                   CERTIFICATE OF SERVICE

        I, Annapurna Balakrishna, Assistant United States Attorney, hereby certify that this
document filed through the ECF system will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF).

                                                      /s/ Annapurna Balakrishna
                                                      Annapurna Balakrishna
Dated: December 14, 2018                              Assistant U.S. Attorney




                                                  2
